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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                       Case No. 11-20129

 WAYNE R. WERTH,

            Defendant.
 _________________________/

      ORDER DISREGARDING ALL PRO SE MOTIONS AND COMMUNICATIONS AND
               DIRECTING COUNSEL TO RECEIVE AND REVIEW SAME

         Before the court are papers submitted pro se by represented Defendant Wayne

 R. Werth. (Dkts. ##1910, 1969, 1970, 2046.) These filings may seek various forms of

 relief from this court. This court, however, has earlier advised Defendant “multiple times,

 that he is not entitled to represent himself while simultaneously represented by

 counsel.” (Dkt. #1376, Pg. ID 16301.)

         Even setting aside the fact that this court has already held that “a party may

 chose either to represent himself or to appear through an attorney,” (Id.) this court lacks

 jurisdiction to entertain these filings. On July 5, 2016, Defendant filed a Notice of

 Appeal, (Dkt. #1898)–a filing which predates any of the pro se materials addressed

 here–and the Sixth Circuit Court of Appeals has since issued orders consistent with its

 normal exercise of appellate jurisdiction, (Dkts. ##1928, 1941). “As a general rule, a

 district court no longer has jurisdiction over an action as soon as a party files a notice of

 appeal, and at that point the appellate court assumes jurisdiction over the matter.”

 Pittock v. Otis Elevator Co., 8 F.3d 325, 327 (6th Cir. 1993) (citing Lewis v. Alexander,
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 987 F.2d 392, 394 (6th Cir. 1993)). Although some exceptions to this rule exist, such as

 “when the appeal is untimely, presents issues that the appellate court had previously

 decided in the same case, or is from a non-final, non-appealable order[,]” id. at 328,

 none appear applicable here.

           As explained in this court’s earlier order regarding pro se submissions of this

 kind, counsel for Defendant has an “obligation to bring any necessary motion[.]” (Dkt.

 #1376, Pg. ID 16302.)

           The court will thus disregard the pro se papers and direct them to the attention of

 Defendant’s current counsel of record, Jeffrey M. Day, for review and disposition.

 Accordingly,

           IT IS ORDERED that all pending pro se documents are expressly

 DISREGARDED and, to the extent necessary, DENIED (See, e.g., Dkts. ##1910, 1969,

 1970, 2046).

           Defendant’s attorney is DIRECTED to (1) review these and all other recent

 correspondence with his client, and (2) take whatever action that may be indicated.

                                                                s/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE
 Dated: March 30, 2017

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, March 30, 2017, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (810) 292-6522




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